 Case 3:13-cv-01837-JM-JMA Document 1 Filed 08/08/13 PageID.1 Page 1 of 10



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11 Marie St. Fort
12
13
                              UNITED STATES DISTRICT COURT
14
                         SOUTHERN DISTRICT OF CALIFORNIA
15
16 Marie St. Fort,                           Case No.:   '13CV1837 JM JMA
17                 Plaintiff,                COMPLAINT FOR DAMAGES
                                             1. VIOLATION OF FAIR DEBT
18       vs.                                 COLLECTION PRACTICES ACT,
                                             15 U.S.C. § 1692 ET. SEQ.;
19                                           2. VIOLATION OF TELEPHONE
   Encore Capital Group Inc. d/b/a Asset
                                             CONSUMER PROTECTION ACT,
20 Acceptance, LLC; Asset Acceptance,        47 U.S.C. § 227, ET. SEQ.
   LLC; and DOES 1-10, inclusive,
21                                           JURY TRIAL DEMANDED
22                Defendants.

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                                                         COMPLAINT FOR DAMAGES
 Case 3:13-cv-01837-JM-JMA Document 1 Filed 08/08/13 PageID.2 Page 2 of 10



 1         For this Complaint, the Plaintiff, Marie St. Fort, by undersigned counsel, states
 2
     as follows:
 3
 4
                                             PARTIES
 5
           1.      Defendant, Encore Capital Group Inc. (“Encore”) is a corporation with its
 6
 7 principal place of business in San Diego, California. Encore operates as a collection
 8 agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6), and is
 9
   a “person” as defined by 47 U.S.C. § 153(10).
10
11       2.     In June of 2013, Encore purchased all of the assets and liabilities of Asset
12 Acceptance Capital Corporation (“AACC”). As part and parcel to the purchase,
13
   Encore purchased the assets and liabilities of AACC’s subsidiaries, including Asset
14
15 Acceptance, LLC (“Asset”).
16         3.      During all times herein mentioned, Asset regularly and systematically
17
     engaged in collection activities within this district, and has been routinely called to
18
19 defend itself against litigation filed in the Southern District of California for violations
20 similar to those alleged by Plaintiff.
21
         4.      Asset operates as a collection agency, and is a “debt collector” as the
22
23 term is defined by 15 U.S.C. § 1692a(6), and a “person” as defined by 47 U.S.C. §
24 153(10).
25
        5.         Plaintiff, Marie St. Fort (“Plaintiff”), is an adult individual and during the
26
27 times of the events alleged herein resided in Georgia, and is a “consumer” as the term
28
                                                 2                 COMPLAINT FOR DAMAGES
 Case 3:13-cv-01837-JM-JMA Document 1 Filed 08/08/13 PageID.3 Page 3 of 10



 1 is defined by 15 U.S.C. § 1692a(3), and is a “person” as defined by 47 U.S.C. §
 2
   153(10).
 3
 4        6.    Does 1-10 (the “Collectors”) are individual collectors employed by

 5 Defendants and whose identities are currently unknown to the Plaintiff. One or more
 6
   of the Collectors may be joined as parties once their identities are disclosed through
 7
 8 discovery.
 9         7.      Defendants at all times acted by and through one or more of the
10
     Collectors.
11
12                                       JURISDICTION
13         8.      This action arises out of Defendants’ repeated violations of the Fair Debt
14
     Collection Practices Act, 15 U.S.C. § 1692, et. seq. (“FDCPA”), violations of the
15
16 Telephone Consumer Protection Act, 47 U.S.C. § 227, et. seq. (“TCPA”), and the
17 invasions of Plaintiff’s personal privacy by the Defendants and its agents in their
18
     illegal efforts to collect a consumer debt.
19
20         9.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

21         10.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that
22
     Encore’s principal place of business is within this District, and Asset routinely
23
24 transacts business and is regularly sued in the Southern District and within the State of
25 California.
26
27
28
                                                   3             COMPLAINT FOR DAMAGES
 Case 3:13-cv-01837-JM-JMA Document 1 Filed 08/08/13 PageID.4 Page 4 of 10



 1                  ALLEGATIONS APPLICABLE TO ALL COUNTS
 2
     A.    The Debt
 3
           11.    In or around 2005, Care Credit (the “Creditor”) alleged that a financial
 4
 5 obligation was due and owing from Plaintiff (the “Debt”).
 6
           12.    The Debt arose from services provided by the Creditor which were
 7
     primarily for family, personal or household purposes and which meets the definition
 8
 9 of a “debt” under 15 U.S.C. § 1692a(5).
10
           13.    The Debt was purchased by Asset, and Asset contacted Plaintiff in an
11
     attempt to collect the Debt and, as such, engaged in “communications” as defined in
12
13 15 U.S.C. § 1692a(2).
14
     B.    The Facts
15
16         14.    Prior to and within the last year, Asset called Plaintiff on her cellular
17
     telephone in an attempt to collect the Debt.
18
19         15.    Asset called Plaintiff on her cellular telephone using an automatic
20 telephone dialing system (“ATDS” or “Predictive Dialer”) and/or by using a
21
   prerecorded or artificial voice.
22
23         16.    Asset used a telephone system that has the capacity to store or produce
24 telephone numbers to be called, and to dial the numbers using a random or sequential
25
   number generator.
26
27
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                                                4                 COMPLAINT FOR DAMAGES
 Case 3:13-cv-01837-JM-JMA Document 1 Filed 08/08/13 PageID.5 Page 5 of 10



 1         17.    Asset used a prerecorded or automated voice when it placed calls to
 2
     Plaintiff on her cellular telephone.
 3
 4         18.    Asset left prerecorded or automated messages on Plaintiff’s voicemail.

 5         19.    In its authority to promulgate rules and regulations under the TCPA, the
 6
     Federal Communications Commission (FCC) explains the prohibitions on the use of
 7
 8 Predictive Dialers, and defines a Prediction Dialer as “a dialing system that
 9 automatically dials consumers’ telephone numbers in a manner that “predicts” the
10
   time when a consumer will answer the phone and a [representative] will be available
11
12 to take the call…”2003 TCPA Order, 18 FCC 36 Rcd 14022. The FCC explains that if
13 a representative in not “free to take a call that has been placed by a predictive dialer,
14
   the consumer answers the phone only to hear ‘dead air’ or a dial tone, causing
15
16 frustration.” Id. In addition, the FCC’s rules place prohibitions on companies that
17 “abandon” some calls by setting “the predictive dialers to ring for a very short period
18
   of time before disconnecting the call. Id.
19
20         20.    Asset’s telephone system has all the earmarks of a Predictive Dialer
21 discussed by the FCC. Plaintiff oftentimes experienced dead air when she answered
22
   the calls from Asset. Plaintiff often times had to wait several seconds, and said “hello”
23
24 several times before her call was connected to a representative. Other times, Asset
25 disconnected the call prior to transferring Plaintiff to a representative.
26
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                                               5                 COMPLAINT FOR DAMAGES
 Case 3:13-cv-01837-JM-JMA Document 1 Filed 08/08/13 PageID.6 Page 6 of 10



 1         21.   Plaintiff never provided her cellular telephone number to Asset or any of
 2
     its predecessors, and never provided her consent to Defendants to be contacted on her
 3
 4 cellular telephone.
 5         22.   Plaintiff never provided her cellular telephone number to the Creditor and
 6
     never provided her consent to the Creditor to be contacted on her cellular telephone.
 7
 8         23.   In fact, Plaintiff never wanted to be contacted regarding the alleged Debt
 9 and was frustrated that Asset was calling. Prior to Asset’s purchase of the Debt, Asset
10
   Recovery Services, LLC (“ARS”) made attempts to collect the Debt. Plaintiff disputed
11
12 the validity of the Debt with ARS, and also disputed the Debt with the credit reporting
13 agencies, and at all times challenged the existence of the Debt.
14
         24. Just as she had done with ARS, Plaintiff disputed the validity of the Debt
15
16 with Asset, and provided a detailed explanation of the nature of her dispute and that
17 she had disputed the Debt with the credit reporting agencies. Plaintiff directed Asset to
18
   cease all communications; however, Asset continued to call Plaintiff.
19
20         25.   Plaintiff answered numerous calls from Asset in an attempt to get the
21 calls to stop, and each time was forced to repeat her explanation of the invalidity of
22
   the Debt to a different collector. Plaintiff made it abundantly clear to each collector
23
24 that she had no intent to pay the invalid Debt.
25
26
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                                              6                 COMPLAINT FOR DAMAGES
 Case 3:13-cv-01837-JM-JMA Document 1 Filed 08/08/13 PageID.7 Page 7 of 10



 1         26.    Despite Plaintiff’s requests to stop calling and her unambiguous
 2
     expression of her refusal to pay, Asset continued to call Plaintiff at an excessive and
 3
 4 harassing rate, sometimes calling Plaintiff on a daily basis and multiple times a day.
 5         27.    At the time Asset communicated with Plaintiff, the Debt was past the
 6
     statute of limitations.
 7
 8         28.    In violation of its Consent Agreement entered into with the Fair Trade
 9 Commission, Asset failed to inform Plaintiff during discussions that the Debt was past
10
   the statute of limitations and was no longer legally enforceable.
11
12        29. Although the parties engaged in detailed discussions regarding Plaintiff’s
13 dispute, and Asset knew that Plaintiff had disputed the Debt with ARS and the credit
14
   reported reporting agencies, Asset nonetheless thereafter reported the Debt to the
15
16 credit reporting agencies as a past due account, and failed to report that the Debt was
17 disputed.
18
                                 COUNT I
19       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
20                         15 U.S.C. § 1692, et seq.
21         30.    The Plaintiff incorporates by reference all of the above paragraphs of this
22
     Complaint as though fully stated herein.
23
24         31.    Knowing that its calls would not result in the collection of the Debt,

25 Asset caused Plaintiff’s phone to ring at an excessive and harassing rate in violation of
26
     15 U.S.C. § 1692d(5).
27
28
                                                7                COMPLAINT FOR DAMAGES
 Case 3:13-cv-01837-JM-JMA Document 1 Filed 08/08/13 PageID.8 Page 8 of 10



 1         32.   In failing to report the Debt as disputed, Asset’s conduct violated 15
 2
     U.S.C. § 1692e(8).
 3
 4         33.   Asset’s conduct violated 15 U.S.C. § 1692e(2) in that Asset

 5 misrepresented the character, amount and legal status of the Debt.
 6
         34. Asset’s conduct violated 15 U.S.C. § 1692f in that Asset used unfair and
 7
 8 unconscionable means to collect a debt.
 9         35.   The foregoing acts and omissions of Asset constitute numerous and
10
     multiple violations of the FDCPA, including every one of the above-cited provisions.
11
12         36.   The Plaintiff is entitled to damages as a result of Asset’s violations.
13                              COUNT II
14     VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                           47 U.S.C. § 227, et seq.
15
16         37.   The Plaintiff incorporates by reference all of the above paragraphs of this

17 Complaint as though fully stated herein.
18
           38.   Without prior express consent, Defendants contacted Plaintiff on her
19
20 cellular telephone using ATDS and/or a prerecorded or automated voice in violation
21 of 47 U.S.C. § 227(b)(1)(A)(iii).
22
           39.   The telephone number called by Defendants was assigned to a cellular
23
24 telephone service for which Plaintiff incurs charges for incoming calls pursuant to 47
25 U.S.C. § 227(b)(1).
26
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                                              8                 COMPLAINT FOR DAMAGES
 Case 3:13-cv-01837-JM-JMA Document 1 Filed 08/08/13 PageID.9 Page 9 of 10



 1         40.     The calls from Defendants were not placed for “emergency purposes” as
 2
     defined by 47 U.S.C. § 227(b)(1)(A)(i).
 3
 4         41.     Defendants placed automatic telephone calls to Plaintiff’s cellular

 5 telephone knowing that it lacked consent to call her number and continued to call
 6
   despite multiple requests to stop. As such, each call placed to Plaintiff was made in
 7
 8 knowing and/or willful violation of the TCPA, and subject to treble damages pursuant
 9 to 47 U.S.C. § 227(b)(3)(C).
10
         42. As a result of each negligent violation of the TCPA, Plaintiff is entitled to
11
12 an award of $500.00 in statutory damages for each, pursuant to 47 U.S.C. §
13 227(b)(3)(B).
14
         43. As a result of each call made in knowing and/or willful violation of the
15
16 TCPA, Plaintiff is entitled to an award of treble damages in an amount up to
17 $1,500.00 pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
18
19                                   PRAYER FOR RELIEF
20         WHEREFORE, the Plaintiff prays that judgment be entered against the
21
     Defendants:
22
23                 A. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)
24                    against Defendants;
25
                   B. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.
26
27                    § 1692k(a)(3) against Defendants;
28
                                                9                 COMPLAINT FOR DAMAGES
Case 3:13-cv-01837-JM-JMA Document 1 Filed 08/08/13 PageID.10 Page 10 of 10



 1             C. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C) against
 2
                  Defendants;
 3
 4             D. Punitive damages; and

 5             E. Such other and further relief as may be just and proper.
 6
 7                TRIAL BY JURY DEMANDED ON ALL COUNTS
 8
 9        DATED: August 8, 2013              TAMMY HUSSIN
10                                           By: /s/ Tammy Hussin
11                                           Tammy Hussin, Esq.
                                             Lemberg & Associates, LLC
12                                           Attorney for Plaintiff Marie St. Fort
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                                           10                 COMPLAINT FOR DAMAGES
